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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

AARON MULVEY AND                                   §
CAROLYN MULVEY                                     §
                                                   §
VS.                                                §       C.A. NO. 5:21-CV-01210-JKP-HJB
                                                   §
LIQUID PROPERTY GROUP, LLC,                        §
JOHN MICHAEL TIFFIN AND                            §
TINA ANDERSON                                      §

                LIQUID PROPERTY GROUP, LLC’S REPLY TO
               PLAINTIFFS’ MOTION TO COMPEL DISCOVERY

       Liquid Property Group, LLC, Judgment Creditor, files this its Reply to Plaintiffs’

Response to Motion to Compel Discovery, as follows:

       1.     Plaintiffs admit in their Response to Defendant’s Motion to Compel Discovery

that “Defendants served fairly standard post-judgment request for production on or about May

23, 2023 via email to the undersigned counsel.” (Plaintiff’s Response, Paragraph 1).

       2.     Plaintiffs argue that Defendant’s Motion to Compel Post-Judgment Discovery

should be denied because “discovery is premature.” Federal Rule of Civil Procedure 69(a)(2)

permits a judgment creditor to obtain discovery from the judgment debtor as provided either in

the Federal Rules or by the procedures of the state where the court is located. Tex. R. Civ. P.

Rule 621(a) provides that at any time after rendition of the judgment, and so long as said judgment

has not been suspended by a supersedeas bond or by order of a proper court, the successful party

may, for the purposes of obtaining information in aid of the enforcement of such debt judgment,

initiate and maintain in the trial court in the same suit in which said judgment was rendered any

discovery proceeding authorized by these rules for pre-trial matters. Request for production of
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documents are authorized both by the Texas Rules of Civil Procedure and the Federal Rules of

Civil Procedure. If Plaintiffs wish to seek relief from what it describes in its response as a

“minimal judgment”, both the state and federal rules provide for relief from proceedings to

enforce a judgment by providing a bond or other security (FRCP Rule 62(b); Tex. R. App. P.

Rule 24). Plaintiffs have made no effort to suspend the enforcement of the judgment by posting

a bond or by utilizing any of the other methods provided for in the state or federal rules. Their

requests that the court suspend enforcement of the judgment without them complying with those

rules should be denied.

       3.     Secondly, Plaintiffs admit that their counsel was served with the discovery requests

they seek to avoid, but represent to the court in their Response that “there is no agreement

regarding service via email.” Once again, Plaintiffs take liberties with the truth. Attached as

Exhibit A to this Response is an email from Plaintiffs’ counsel Ryan Reed to Defendant’s counsel

Dakota Wrinkle in which Mr. Reed agrees: “Discovery and other service by email is just fine.”

       4.     Next, Plaintiffs claim that they should be entitled to avoid their discovery

obligations because the discovery was served on Mr. Reed but not Mr. Mulvey. Service under

Rule 5(b)(1) is effective when a party’s attorney of record has been served. There is no specific

requirement in Rule 5 that each co-counsel must also be served in order for service to be effective.

Particularly where Plaintiffs’ response admits that Plaintiffs were served by email (to which

Plaintiffs had expressly agreed) and no claim is made that Mr. Mulvey did not have actual

awareness of the discovery served on his counsel, nor is any prejudice claimed by reason of

Plaintiffs’ lead counsel being served rather than Mr. Mulvey, the fact that the discovery was not

also emailed to Mr. Mulvey does not excuse his compliance. Furthermore, Mr. Mulvey’s counsel


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had previously announced to Defendants’ counsel in an email dated April 6, 2022 that he was “in

charge of the Federal court litigation now” and that “You can deal with me directly”. (See Exhibit

B attached hereto). Finally, “(F)ailure to object to requests for production within 30 days of the

requests waives any objections the respondent may have.” Booklab, Inc. v. Jensen, 2008 W.L.

11333871 at *1 (W.D. Tex. 2008) (not designated for publication); Fed. R. Civ. P. 34(b)(2)(A).

       5.     Defendant Liquid Property Group renews its request for expenses including

attorney fees as provided in FRCP Rule 26(c)(3) and FRCP Rule 37(a)(5).

       WHEREFORE, Liquid Property Group, LLC prays that its Motion to Compel Discovery

be granted, for an award of expenses, including attorney fees, and for general relief.

                                                    Respectfully submitted,

                                                    Texas Landowner Law Firm, PLLC
                                                    1910 Pacific Avenue, Suite 5020
                                                    Dallas, Texas 75201
                                                    Telephone: (469) 833-3380

                                                    By:  /s/ Dakota J. Wrinkle
                                                          Dakota J. Wrinkle
                                                          State Bar No. 24118592
                                                          dakota@texaslandownerfirm.com
                                                    Attorney for Judgment Creditor



                                                    Bayne, Snell & Krause
                                                    1250 N.E. Loop 410, Suite 725
                                                    San Antonio, Texas 78209
                                                    Telephone: (210) 824-3278
                                                    Telecopier: (210) 824-3937

                                                    By: /s/ Barry Snell
                                                          Barry Snell
                                                          State Bar No. 1878900
                                                          bsnell@bsklaw.com
                                                    Attorney for Judgment Creditor
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                                   Certificate of Service

       I hereby certify that a true and correct copy of the foregoing has been served upon the
following counsel of record on the 14th day of July, 2023:

Ryan C. Reed
Pulman, Cappuccio & Pullen, LLP
2161 NW Military Highway, Suite 400
San Antonio, Texas 78213



                                                          /s/ Barry Snell
                                                        Barry Snell




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         Exhibit B
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